Case 5:23-cv-03003-JWL-JPO Document1 Filed 12/21/22 Page1of11

UNITED STATES DISTRICT COURT

 

 

EASTERN DISTRICT OF MISSOURI

 

 

DIVISION
)
)
)
(Write the full name of the plaintiff in this action. ) Case No:
Include prisoner registration number.) ) (to be assigned by Clerk of District Court)
ve Plaintiff Requests Trial by Jury
’ ) Yes No
)
)
)
)
)
(Write the full name of each defendant. The caption )
must include the names of all of the parties. )
Fed. R. Civ. P. 10(a). Merely listing one party and )
writing “et al.” is insufficient. Attach additional )
sheets if necessary.) }

PRISONER CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C. § 1983

NOTICE:

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual's full social security number or full birth date, the full name of a person
known. to be a minor, or a complete financial account number. A filing may include only: the last
four digits of a social security number, the year of an individual’s birth, a minor’s initials, and
the last four digits of a financial account number.

Except as noted in this form, plaintiff should not send exhibits, affidavits, witness statements, or
any other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an
application to proceed without prepayment of fees and costs.
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L. The Parties to this Complaint

 

A. The Plaint#f
Name: (YlaccuS avis

Other names you have used:

 

Prisoner Registration Number: {9 uf 1370

 

Current Institution: vu Akon De Cee pi bo; SD: ‘AEROS si 2, Cenbe

Indicate your prisoner status:
[| Pretrial detainee [ Convicted and sentenced state prisoner
[| Civilly committed detainee [_] Convicted and sentenced federal prisoner

[_] Immigration detainee 4 Other (explain): nu ¢ VW olobion

B. The Defendant(s)

 

To the best of your knowledge, give the information below for each defendant named in the
caption of this complaint. Make sure the defendant(s) named below are the same as those listed
in the caption of this complaint. Attach additional pages if necessary.

For an individual defendant, include the person’s job title, and check whether you are suing the
individual in his or her individual capacity, official capacity, or both.

Defendant i

Name: Wyandotte Cour ns u Detentio On Ce nt ef fv fed: ‘ead StaFE

Job or Title: /¥ leciea!

 

Badge/Shield Number:

 

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Nf fo dey
Employer: Lye’ det ¢ ¢C OU Wweten tion Cen
op bef be o> *
Address: MO plorthy T*" Street Jonsas € a bs 6UhO/
f Individual Capacity x Official Capacity
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Defendant 2

 

Name: Dera c\ Se py: c
Job or Titi: S\lnecr SE
Badge/Shield Number:
Employer: Wyse nde tre aun eu Deten fig Cenre r
Address: H10 Doct TH Stree Kansas Ce t4, Kansas &6/0/

 

| Individual Capacity [Fj Official Capacity

Ll. Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

1. What happened to you?

2. When did it happen?

3. Where did it happen?

4. What injuries did you suffer?

3) What did each defendant personally do, or fail to do, to harm you?

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Il. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what
medical treatment, if any, you required and did or did not receive.

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IV. Relief

State briefly and precisely what you want the Court to do for you. Do not make legal arguments.

Do not cite any cases or statutes. If you are requesting money damages, include the amounts of

any actual damages and/or punitive damages you are claiming. Explain why you believe you are

entitled to recover those damages. —\_ would Vike 3 00 OOS ae deal lars

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V. Exhalstifoot Administrative Remedies/Administrative Procedures

The Prison Litigation Reform Act (““PLRA”) 42 U.S.C. § 1997e(a), requires that “[n]Jo action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other
correctional facility?

EL Yes LI No

If yes, name the jail, prison or other correctional facility where you were confined at the
time of the events giving rise to your claim(s):

Lya ndokre Counts Dedentoo Centers

B. Does the jail, prison or other correctional facility where your claim(s) arose have
a grievance procedure?

EE] ves | No | Do not know

C. If yes, does the grievance procedure at the jail, prison or other correctional facility
where your claim(s) arose cover some or all of your claims?

Ll ves | | No A Do not know

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If yes, which claim(s)?

D. Did you file a grievance in the jail, prison, or other correctional facility where
your claim(s) arose concerning the facts relating to this complaint?

HL Yes [| No

If no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

yw Yes [] No

E. If you did file a grievance:
1. Where did you file the grievance?
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2. What did you claim in your grievance? (Aitach a copy of your grievance, if
available) ¥
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3. What was the result, if any? (Attach a copy of any written response to your
grievance; if available)

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4. What steps, if any, did you take to appeal that decision? Is the grievance process
~~ completed? If not, explain why not: (Describe ait efforts to appeal to the highest —-—_—-———
level of the grievance process.) —<~ ' ty r
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F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:
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rts} my ¥-cay conve pock.County pee

see iF omyt

VAS ale, nil fs WH eet LAY yuk sour ee
2. If you did not file 4 grievancé but you did inform officials of your claim, state
who you informed, when and how, and their response, ifany: Me inGoc med

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G. Please set forth any additional information that is relevant to ‘he exhaustion of
your administrative remedies. t told several differen? nurs
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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of
your administrative remedies.)
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VI.‘ Previous Lawsuits - a
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court

without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United

States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim

upon which relief may be granted, unless the prisoner is under imminent danger of serious

physical injury.” 28 U.S.C. § 1915(g).

A. To the best of your knowledge, have you ever had a case dismissed on the basis of
this “three strikes rule”?

Ey. Yes No

If yes, state which court dismissed your case and when it was dismissed. Attach a
copy of the court’s order, if possible.

Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

[| Yes [+ No

B. If your answer to A is yes, describe each lawsuit by answering questions 1
through 7 below. (if there is more than one lawsuit, describe the additional
lawsuits on another page, using the same format.)

 

 

 

l. Parties to the previous lawsuit
Plaintiff
Defendant(s)
2. Court (if'federal court, name the district; if state court, name the state and county)
3. Docket or case number
4. Name of Judge assigned to your case

 
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Approximate date of filing lawsuit

 

Is the case still pending?
| Yes
L| No Ufno, give the approximate date of disposition):

What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?

cL Yes TE. No

If your answer to C is yes, describe each lawsuit by answering questions |
through 7 below. (If there is more than one lawsuit, describe the additional
lawsuits on another page, using the same format.)

Parties to the previous lawsuit

Plaintiff

Defendant(s)

 

Coust (if federal court, name the district; if state court, name the state and county)

Docket or case number

 

Name of Judge assigned to your case

 

Approximate date of filing lawsuit

 
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6. Is the case still
[| Yes

I No (no, give the approximate date of disposition):

7. What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

VII. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies
with the requirements of Rule 11.

T agree to provide the Clerk’s Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk’s
Office may result in the dismissal of my case.

I declare under penalty of perjury that the foregoing is true and correct.

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Signed this ; yin day of Nec oo YH yr , 20 27.

   

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Signature of Plaintiff Le =

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